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 1                                                            The Honorable Richard A. Jones
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 5                            UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
 6                                     AT SEATTLE
 7
      UNITED STATES OF AMERICA,                       NO. CR18-0131-RAJ
 8
                          Plaintiff,                  ORDER GRANTING
 9                                                    DEFENDANT’S MOTION
               v.                                     TO SEAL IN PART
10
      MARCUS JAMES HALL,
11
                          Defendant.
12

13
             This matter comes before the Court on Defendant Marcus James Hall’s Motion to
14
     Seal Compassionate Release Motion and Exhibits.
15
             The Court has reviewed the motion and records in this case and finds good cause
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     shown to permit the filing under seal of Exhibit 3 only (Defendant’s medical records) due
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     to the sensitive information contained therein. Court staff has communicated with
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     counsel for Defendant, who represented there was no objection to the sealing of Exhibit 3
19   only.
20           IT IS HEREBY ORDERED that Defendant’s Motion to Seal (Dkt. #1463) is
21   GRANTED IN PART. Exhibit 3 to Defendant’s Motion for Compassionate Release shall
22   remain under seal.
23           DATED this 21st day of October, 2020.
24

25
                                                     A
                                                     The Honorable Richard A. Jones
                                                     United States District Judge
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     ORDER GRANTING MOTION TO SEAL IN PART - 1
     UNITED STATES v. HALL
     NO. CR18-0131-RAJ
